    Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                                   Document      Page 1 of 26

x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




    Ace Cash Express
    Acct No xxxxxxxxx9779
    1231 Greenway Drive
    Suite 700
    Irving TX 75038


    Ace Cash Express, Inc
    Acct No xxxxxxxxx9779
    1231 Greenway Drive, Suite 670
    Irving TX 75038


    Ad Astra Recovery Services
    Acct No xxxx-x-xxxxx5382
    7330 W 33rd Street N
    Suite 118
    Wichita KS 67205


    Ad Astra Recovery Services, Inc
    Acct No xxxx-x-xxxxx5382
    8918 W 21 Street N, Suite 200, PMB 112
    Wichita KS 67205-1880


    Allied Interstate
    Acct No xxxx xxxx xxxx 2973
    7525 W Campus Road
    New Albany OH 43054-1121


    Allied Interstate
    Acct No xxxx xxxx xxxx 2973
    PO Box 1962
    Southgate MI 48195-0962


    American Home Mortgage Servicing Inc
    Acct No xxxxxx3362
    4600 Regent Blvd., Suite 200
    Irving TX 75063-1730


    American Home Mortgage Servicing Inc
    4875 Belfort Road, Suite 130
    Jacksonville FL 32256


    American Home Mortgage Servicing Inc
    Acct No xxxxxx3362
    4875 Belfort Road, Suite 130
    Jacksonville FL 32256
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 2 of 26


American Home Mortgage Servicing, Inc.
Acct No xxxxxx3362
PO Box 3050
Columbia MD 21045-6050


Andrew County Collector
PO Box 47
Savannah MO 64485


Bank of America Home Loans
Acct No xxxxx9872
400 Countrywide Way
Simi Valley CA 93065


Bank of America Home Loans
Acct No xxxxx1228
400 Countrywide Way
Simi Valley CA 93065


Bank   of America Home Loans
Acct   No xxxxx9872
4500   Amon Carter Blvd
Fort   Worth TX 76155


Bank of America Home Loans
Acct No xxxxx9872
7105 Corporate Drive
Plano TX 75024-4100


Bank of America Home Loans
Acct No xxxxx1228
7105 Corporate Drive
Plano TX 75024-4100


Bank   of America Home Loans
Acct   No xxxxx1228
4500   Amon Carter Blvd
Fort   Worth TX 76155


Bank of America, N.A. as successor by
Acct No xxxxx9872
merger to BAC Home Loans Servicing, LP
Mail Stop CA6-919-01-23
400 National Way
Simi Valley CA 93065
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 3 of 26


Bank of America, N.A. as successor by
Acct No xxxxx1228
merger to BAC Home Loans Servicing, LP
Mail Stop CA6-919-01-23
400 National Way
Simi Valley CA 93065


Bank One Delaware NA
Acct No xxxx xxxx xxxx 4165
Law Department
201 North Walnut Street
Wilmington DE 19801


Barton Mutual Insurance Co.
Acct No xx4304
120 S. Main St.
PO Box 99
Liberal MO 64762-0099


Barton Mutual Insurance Co.
Acct No xxx9542
120 S. Main St.
PO Box 99
Liberal MO 64762-0099


Berlin-Wheeler Inc
711 W McCarty Street
Jefferson City MO 65101


Berlin-Wheeler Inc
PO Box 463
Jefferson City MO 65102-0463


Buchanan County Collector of Revenue
Buchanan County Courthouse
411 Jules, Suite 123
Saint Joseph MO 64501-1788


Buchanan County, Missouri
Buchanan County Collector of Revenue
411 Jules Street, Suite 123
Saint Joseph MO 64501-1786


Buchanan County, Missouri
Collector of Revenue
411 Jules, Suite 123
Saint Joseph MO 64501-1788
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 4 of 26


CACV of Colorado LLC
Acct No xxxx-xxxx-xxxx-9712
370 17th Street
Suite 5000
Denver CO 80202


Capital One Bank
PO Box 30281
Salt Lake City UT 84130


CBCS
Acct No xxxxxx2029
PO Box 164059
Columbus OH 43216-4059


Chase
Acct No xxxx xxxx xxxx 6454
PO Box 94014
Palatine IL 60094-4014


Chase
Acct No xxxx xxxx xxxx 6454
PO Box 15298
Wilmington DE 19850-5298


Chase Bank USA NA
Bankruptcy Department
PO Box 100018
Kennesaw GA 30156


Chase Bank USA, N.A.
1804 Washington Blvd.
2nd Floor, Dept 450
Baltimore MD 21230


Chase Bank USA, N.A.
c/o Charles L. Litow, Esq.
PO Box 698
Festus MO 63028


Chase Bank USA, N.A.
200 White Clay Center Drive
Newark DE 19711
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 5 of 26


Citi
Acct No xxxx xxxx 1624
PO Box 653095
Dallas TX 75265


Citibank (South Dakota), NA
Bankruptcy Department
7920 Northwest 110th Street
Kansas City MO 64101


Citicorp Credit Services
Acct No xxxx xxxx 1624
PO Box 2695
Waterloo IA 50704-2695


Citizen's Bank & Trust
PO Box 50
Chillicothe MO 64601


City of S. Joseph Utility Billing
Acct No xxxxx3-000
PO Box 411458
Kansas City MO 64141


City of Savannah, Missouri
402 Court
Savannah MO 64485


City of St. Joseph, Missouri
1100 Frederick Avenue
Room 106
Saint Joseph MO 64501


City of St. Joseph, Missouri
Department of Finance
PO Box 1350
St. Joseph MO 64502


City of St. Joseph, Missouri
Acct No xxxxx3-000
Utility Billing
1100 Frederick Avenue
Saint Joseph MO 64501
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 6 of 26


Commerce Bank
Acct No xxxxxxxx9096
PO Box 411036
Kansas City MO 64141-1036


Commerce Bank
Acct No xxxxxxxx9096
Attn: KCREC10
PO Box 419248
Kansas City MO 64141


Commerce Bank, N.A.
Acct No xxxxxxxx9096
Bankruptcy Department
911 Main Street
Kansas City MO 64105


Cynthia M Woolverton, Esq.
Acct No xxxxx9872
Millsap & Singer LLC
612 Spirit Drive
Saint Louise MO 63005


Cynthia M Woolverton, Esq.
Acct No xxxxx1228
Millsap & Singer LLC
612 Spirit Drive
Saint Louise MO 63005


Dell Financial Services
Acct No xxxx xxxx xxxx xxx4 790
PO Box 6403
Carol Stream IL 60197-6403


Dell Financial Services
Acct No xxxx xxxx xxxx xxx4 790
PO Box 81577
Austin TX 78708-1577


Discover Bank
PO Box 15251
Wilmington DE 19886-5251


Discover Card
PO Box 30943
Salt Lake City UT 84130
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 7 of 26


Discover Card
PO Box 15192
Wilmington DE 19850-5192


Discover Card
PO Box 15316
Wilmington DE 19850-5316


Encore Receivable Management
Acct No xxxx xxxx xxxx xxx4 790
400 N. Rogers Road
PO Box 3330
Olathe KS 66063-3330


Encore Receivable Management
Acct No xxxx xxxx xxxx xxx4 790
PO Box 47248
Oak Park MI 48237


Enhanced Recovery Corporation
Acct No xxxxx7861
PO Box 57610
Jacksonville FL 32241


First Franklin Loan Services
Acct No xxxxxx1335
PO Box 1838
Pittsburgh PA 15230


First Franklin Loan Services
Acct No xxxxxx1335
PO Box 660598
Dallas TX 75266-0598


First Franklin Loan Services
Acct No xxxxxx1335
150 Allegheny Center Mall
Pittsburgh PA 15212


First Franklin Loan Services
Acct No xxxxxx5451
PO Box 660598
Dallas TX 75266-0598
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 8 of 26


First Franklin Loan Services
Acct No xxxxxx5451
PO Box 1838
Pittsburgh PA 15230


First Franklin Loan Services
Acct No xxxxxx5451
150 Allegheny Center Mall
Pittsburgh PA 15212


FMS Inc.
Acct No xxxx8490
PO Box 707600
Tulsa OK 74170-7600


Ford Credit
Acct No xxxx5511
National Bankruptcy Service Center
PO Box 537901
Livonia MI 48153-7901


Ford Credit
Acct No xxxx5511
PO Box 542000
Omaha NE 68154


Ford Credit
Acct No xxxx5511
PO Box 790093
Saint Louis MO 63179-0093


Ford Credit
Acct No xxxx0096
Customer Service Center
PO Box 542000
Omaha NE 68154-8000


Ford Motor Credit
Acct No xxxx0096
National Bankruptcy Service Center
PO Box 6275
Dearborn MI 48121


Ford Motor Credit Co
Acct No xxxx0096
PO Box 105704
Atlanta GA 30348
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document      Page 9 of 26


Ford Motor Credit Company
Acct No xxxx5511
Drawer 55-953
PO Box 55000
Detroit MI 48255


Ford Motor Credit Company LLC
Acct No xxxx0096
PO Box 62180
Colorado Springs CO 80962


Gamache & Myers P.C.
Acct No xxxx-xxxx-xxxx-9712
1111 Woods Mill Road
Ste 180
Chesterfield MO 63017


GE Capital Retail Bank
Acct No xxx xxxx xxx868 2
c/o Recovery Management Systems Corp
25 SE 2nd Avenue, Suite 1120
Miami FL 33131-1605


GE Money Bank
Acct No xxxx xxxx xxxx 0120
Attn: Bankruptcy Dept
PO Box 103104
Roswell GA 30076


GE Money Bank
Acct No xxxx xxxx xxxx 2973
Attn: Bankruptcy Dept
PO Box 103104
Roswell GA 30076


GE Money Bank/Dillards
Acct No xxxx xxxx xxxx 2973
PO Box 960012
Orlando FL 32896


GEMB/Dillard's
Acct No xxxx xxxx xxxx 2973
PO Box 981400
El Paso TX 79998
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 10 of 26


GEMB/Dillard's
Acct No xxxx xxxx xxxx 2973
PO Box 981471
El Paso TX 79998


Goetz Credit Union
1905 Howard Street
Saint Joseph MO 64501


Heartland Health
Acct No xxxx3638
PO Box 1159
Saint Joseph MO 64502


HFC
Acct No xxxxxx-xx-xxx724-6
0215 D NE Englewood Rd
Kansas City MO 64118


HFC
Acct No xxxxxx-xx-xxx724-6
PO Box 4153-K
Carol Stream IL 60197-4153


Hidden Valley Homes Assciation
Acct No 94
PO Box 6242
Saint Joseph MO 64506


Hidden Valley Homes Assciation
Acct No HO2
PO Box 6242
Saint Joseph MO 64506


Hidden Valley Homes Assciation
Acct No 161
PO Box 6242
Saint Joseph MO 64506


Hidden Valley Homes Assciation
Acct No 192
PO Box 6242
Saint Joseph MO 64506
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 11 of 26


Hidden Valley Homes Association
Acct No 94
PO Box 8938
Saint Joseph MO 64508-8938


Hidden Valley Homes Association
Acct No 94
PO Box 8938
Saint Joseph MO 64508


Home Depot
Acct No xxxx xxxx 1624
PO Box 790328
Saint Louis MO 63179-0328


Home Depot
Acct No xxxx xxxx 1624
PO Box 6497
Sioux Falls SD 57117-6497


Home Depot Credit Services
Acct No xxxx xxxx 1624
8725 W. Sahara Blvd.
Las Vegas NV 89117


HomeComings Financial
Acct No xx1546
PO Box 205
Waterloo IA 50704-0205


HomeComings Financial
Acct No xx1546
PO Box 79135
Phoenix AZ 85065-9135


HomeComings Financial
Acct No xx1546
6716 Grade Lane
Bldg. 9, Suite 910
Louisville KY 40213-1407


HomeComings Financial
Acct No xx1546
2711 North Haskell Avenue
Suite 900
Dallas TX 75204
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 12 of 26


HomeComings Financial
Acct No xxxxxx1764
PO Box 205
Waterloo IA 50704-0205


HomeComings Financial
Acct No xxxxxx1764
PO Box 79135
Phoenix AZ 85062-9135


HomeComings Financial
Acct No xxxxxx1764
6716 Grade Lane
Bldg. 9, Suite 910
Louisville KY 40213-1407


HomeComings Financial
Acct No xxxxxx1764
PO Box 79162
Phoenix AZ 85062


HomeComings Financial
Acct No xxxxxx1640
PO Box 205
Waterloo IA 50704-0205


HomeComings Financial
Acct No xxxxxx1640
PO Box 79135
Phoenix AZ 85062-9135


HomeComings Financial
Acct No xxxxxx1640
6716 Grade Lane
Bldg., 9, Suite 910
Louisville KY 40213-1407


HomeComings Financial
Acct No xxxxxx1640
PO Box 79162
Phoenix AZ 85062


Homeq Servicing Corporation
Acct No xxxxxx3551
Bankruptcy Department
1100 Corporate Center
Raleigh NC 27607
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 13 of 26


HomEq Servicing Corporation
Acct No xxxxxx3551
PO Box 13716
Sacramento CA 95853-3716


HomEq Servicing Corporation
Acct No xxxxxx3551
PO Box 79230
City Of Industry CA 91716-9230


HomEq Servicing Corporation
Acct No xxxxxx3551
4837 Watt Avenue, Suite 200
North Highlands CA 95660


HomEq Servicing Corporation
Acct No xxxxxx3551
PO Box 13909
Durham NC 27709-3909


HomEq Servicing Corporation
Acct No xxxxxx3551
701 Corporate Center Dr. NC4741
Raleigh NC 27607


IC System Inc
Acct No xxxxxxx8-1-99
PO Box 64378
Saint Paul MN 55164-0378


K&K Assets LLC
Acct No xxxxxx1764
c/o Kristin A. Bourgeois, Esq.
600 Washington Avenue
15th Floor
Saint Louis MO 63101-1313


K&K Assets, LLC by iServe
Acct No xxxxxx1764
c/o South & Associates, P.C.
6363 College Blvd., Suite 100
Leawood KS 66211


KCP&L
Acct No xxxx xx31 43
PO Box 219703
Kansas City MO 64121-9703
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 14 of 26


KCP&L
Acct No xxxxxx7493
Customer Care Center
PO Box 418679
Kansas City MO 64141-9679


KCP&L
Acct No xxxx xx31 43
Customer Care Center
PO Box 418679
Kansas City MO 64141-9679


KCP&L
Acct No xxxxxx7493
PO Box 11975
Kansas City MO 64138-0975


Keith Joseph Schieber
1009-D West St. Maartens Dr.
Saint Joseph MO 64506


Laboratory Corporation of America
Acct No xxxx6469
PO Box 2240
Burlington NC 27216-2240


Law Office of Curtis O Barnes
Acct No xxxx-xxxx-xxxx-9712
PO Box 1390
Anaheim CA 92815-1390


M & I Marshal & Ilsey Bank
770 N Water Street
ATTN Retail Collections BRK-190-RC
Milwaukee WI 53202


M & I Marshall & Ilsey Bank
1201 Northwest Briarcliff Parkway
Kansas City MO 64116


M & I Marshall & Isley Bank
c/o South & Associates, PC
6363 College Blvd, Suite 100
Overland Park KS 66211
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 15 of 26


Mann Bracken, LLC
Acct No xxxx xxxx xxxx 4165
229 Peachtree Street NE
Suite 700
Atlanta GA 30303


Martin, Leigh, Laws & Fritzlen PC
Acct No xxxxxx3551
900 Pecks Plaza
1044 Main Street
Kansas City MO 64105-2135


MBNA America Bank NA
Acct No xxxx-xxxx-xxxx-9712
Bankruptcy Department
400 Christiana Road
Newark DE 19713


Mercantile Bank
200 N 33rd Street
PO Box 3455
Quincy IL 62305


Mercantile Bank
c/o Nicholas K. Robb, Esq.
MORTON, REED, COUNTS & BRIGGS, LLC
400 Jules, Suite 320
Saint Joseph MO 64501


Mercantile Bank
PO Box 742557
Cincinnati OH 45274


Meritas Health
Acct No xxxx6912
PO Box 505245
Saint Louis MO 63150-5245


Midland Funding LLC
Midland Credit Management Inc
16 Mcleland Road, Suite 101
Saint Cloud MN 56303


Midland Funding LLC
Midland Credit Management Inc
8875 Aero Drive, Suite 200
San Diego CA 92123
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 16 of 26


Midland Funding LLC
c/o Irwin James Frankel, Esq.
9300 Dielman Industrial Drive
Suite 100
Saint Louis MO 63132


Midland Funding, LLC
c/o Donald A. Horowitz, Esq.
1000 Camera Avenue, Suite A
Saint Louis MO 63126


Millsap & Singer, P.C.
Acct No xxxxxx3362
612 Spirit Drive
Saint Louis MO 63005


Missouri American Water
Acct No xx-xxxx899-3
Attention: Bankruptcy Department
1410 Discovery Parkway
Alton IL 62002


Missouri American Water
Acct No xx-xxxx899-3
PO Box 94551
Palatine IL 60094-4551


Missouri American Water
Acct No xx-xxxx899-3
PO Box 578
Alton IL 62002


Missouri Gas Energy
Acct No xxxxxx2029
PO Box 219255
Kansas City MO 64121-9255


Missouri Gas Energy
Acct No xxxxxx2029
Utility Recovery Service
3420 Broadway
Kansas City MO 64111


Nationstar Mortgage LLC
Acct No xxxxx1228
PO Box 630267
Irving TX 75063
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 17 of 26


Nationstar Mortgage LLC
Acct No xxxxx1228
Attn: Bankruptcy Department
PO Box 619096
Dallas TX 75261-9741


Nationstar Mortgage, LLC
Acct No xxxxx2175
Bankruptcy Notifications
350 Highland Drive
Lewisville TX 75067


Nationstar Mortgage, LLC
Acct No xxxxx9872
350 Highland Drive
Lewisville TX 75067


Nationwide Credit
Acct No xxxxxxx7044
PO Box 26314
Lehigh Valley PA 18002


Nationwide Credit, Inc
Acct No xxxxxx1640
1874 Catasauque Road
Box 214
Allentown PA 18109


Nationwide Credit, Inc.
Acct No xxxxxx1640
PO Box 26314
Lehigh Valley PA 18002-6314


NCB Management Services, Inc.
Acct No xxxxxx2182
PO Box 1099
Langhorne PA 19047


Northwest Financial Services
Acct No xxx0364
PO Box 9010
Saint Joseph MO 64508


Northwest Financial Services
Acct No xxxx3638
PO Box 9010
Saint Joseph MO 64508
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 18 of 26


NPG Newspapers Inc
Acct No xxx24-NP
PO Box 29
Saint Joseph MO 64502


NPG Newspapers Inc
Acct No xxx24-NP
825 Edmond
Saint Joseph MO 64501


Ocwen FKA GMAC Rescap
Acct No xxxxxx1764
1525 Belt Line Road
Coppell TX 75019-4913


Ocwen FKA GMAC Rescap
Acct No xxxxxx1640
1525 Belt Line Road
Coppell TX 75019-4913


Ocwen FKA GMAC Rescap
Acct No xx1546
1525 Belt Line Road
Coppell TX 75019-4913


Ocwen Loan Servicing LLC
Acct No xxxxxx0690
1100 Virginia Drive, Suite 175
Fort Washington PA 19034


Ocwen Loan Servicing, LLC
Acct No xxxxxx1640
Bankruptcy Department
PO Box 24781
West Palm Beach FL 33416-4781


Ocwen Loan Servicing, LLC
Acct No xxxxxx0690
3451 Hammond Avenue
Waterloo IA 50702


Ocwen Loan Servicing, LLC
Acct No xxxxxx0690
PO Box 24738
West Palm Beach FL 33416-4738
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 19 of 26


Ocwen Loan Servicing, LLC
Acct No xxxxxx0690
Bankruptcy Department
PO Box 24781
West Palm Beach FL 33416-4781


Ocwen Loan Servicing, LLC
Acct No xxxxxx0690
1661 Worthington Road
Suite 100
West Palm Beach FL 33409


Paypal Buyer Credit
Acct No xxxx xxxx xxxx 0120
PO Box 960080
Orlando FL 32896-0080


Paypal Buyer Credit
Acct No xxxx xxxx xxxx 0120
PO Box 981401
El Paso TX 79998-1401


Paypal Buyer Credit
Acct No xxxx xxxx xxxx 0120
PO Box 981400
El Paso TX 79998-1400


Paypal Buyer Credit
Acct No xxxx xxxx xxxx 0120
PO Box 960097
Orlando FL 32896-0097


PRA Receivables Management LLC
Agent of Portfolio Recovery Assoc LLC
PO Box 12914
Norfolk VA 23541


PRA Receivables Management LLC
Acct No xxxx xxxx xxxx 0120
Agent of Portfolio Recovery Assoc LLC
PO Box 12914
Norfolk VA 23541
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 20 of 26


PRA Receivables Management LLC
Acct No xxxx xxxx xxxx 2973
Agent of Portfolio Recovery Assoc LLC
PO Box 12914
Norfolk VA 23541


Quantum3 Group LLC as agent for
Galaxy Asset Purchasing LLC
PO Box 788
Kirkland WA 98083-0788


Research Medical Center
Acct No xxxxxxx3728
PO Box 740760
Cincinnati OH 45274-0760


Research Medical Center
Acct No xxxxxxx3728
PO Box 99400
Louisville KY 40269


Residential Credit Solutions, Inc.
Acct No xxxxxx1335
c/o Millsap & Singer LLC
612 Spirit Drive
Saint Louise MO 63005


Residential Credit Solutions, Inc.
Acct No xxxxxx5451
c/o Millsap & Singer LLC
612 Spirit Drive
Saint Louise MO 63005


Saint Luke's Health System
Acct No xxxxxxx0715
PO Box 803998
Kansas City MO 64180-3998


Saint Luke's Health System
Acct No xxxxxxx2090
PO Box 803998
Kansas City MO 64180-3998


Saint Luke's Health System
Acct No xxxxxxx1087
PO Box 803998
Kansas City MO 64180-3998
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 21 of 26


Saint Luke's Health System
Acct No xxxxxxx1656
PO Box 803998
Kansas City MO 64180-3998


Saint Luke's Hospital of Kansas City
Acct No xxxxxxx0715
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Hospital of Kansas City
Acct No xxxxxxx2090
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Hospital of Kansas City
Acct No xxxxxxx1087
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Hospital of Kansas City
Acct No xxxxxxx1656
4401 Wornall Road
Kansas City MO 64111


Saint Luke's Regional Laboratories
Acct No xxx-xxxxxx9119
PO Box 219137
Kansas City MO 64121


Select Portfolio Servicing, Inc
Acct No xxxxx9872
ATTN: Bankruptcy Department
PO Box 65250
Salt Lake City UT 84165


Seterus, Inc
Acct No xxxxxx1335
PO Box 2008
Grand Rapids MI 49501-2008


Seterus, Inc
Acct No xxxxxx1335
Attn: Bankruptcy Department
PO Box 2206
Grand Rapids MI 49501-2206
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 22 of 26


Seterus, Inc
Acct No xxxxxx1335
Attn: Bankruptcy Department
PO Box 1047
Hartford CT 06143-1047


Seterus, Inc
Acct No xxxxxx1335
PO Box 1077
Hartford CT 06143-1077


Seterus, Inc
Acct No xxxxxx0690
Attn: Bankruptcy Department
PO Box 1047
Hartford CT 06143-1047


Seterus, Inc
Acct No xxxxxx0690
Attn: Bankruptcy Department
PO Box 2206
Grand Rapids MI 49501-2206


Seterus, Inc
Acct No xxxxxx0690
PO Box 1077
Hartford CT 06143-1077


Shapiro & Kreisman, LLC
Acct No xxxxx2175
13801 Riverport Drive
Suite 502
Maryland Heights MO 63043


South & Associates PC
Acct No xx1546
6363 College Boulevard
Suite 100
Leawood KS 66211


South & Associates PC
Acct No xxxxxx1764
6363 College Boulevard
Suite 100
Leawood KS 66211
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 23 of 26


South & Associates PC
Acct No xxxxxx1640
6363 College Boulevard
Suite 100
Leawood KS 66211


South & Associates PC
Acct No xxxxxx0690
6363 College Boulevard
Suite 100
Leawood KS 66211


Speedy Cash
Acct No xxxx-x-xxxxx5382
Attn: Bankruptcy
3611 North Ridge Road
Wichita KS 67205


Speedy Cash
Acct No xxxx-x-xxxxx5382
PO Box 780408
Wichita KS 67278-0408


St Luke's Northland Hospital
Acct No xxxxxxx2090
5830 NW Barry Road
Kansas City MO 64154


SYNCB/Lowe's
Acct No xxx xxxx xxx868 2
PO Box 965004
Orlando FL 32896-5004


SYNCB/Walmart
Acct No xxxx xxxx xxxx 9708
PO Box 965024
Orlando FL 32896-5024


SYNCB/Walmart
Acct No xxxx xxxx xxxx 9708
PO Box 965036
Orlando FL 32896-5036
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 24 of 26


Synchrony Bank
Acct No xxxx xxxx xxxx 0120
c/o Recovery Management Systems Corporat
25 SE 2nd Avenue, Suite 1120
Miami FL 33131-1605


Synchrony Bank/Lowe's
Acct No xxx xxxx xxx868 2
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony Bank/Walmart
Acct No xxxx xxxx xxxx 9708
Attn: Bankruptcy Department
PO Box 965060
Orlando FL 32896-5060


Synchrony/Walmart
Acct No xxxx xxxx xxxx 9708
Recovery Management Systems Corp
25 SE 2nd Avenue, Suite 1120
Miami FL 33131


Ted S. Pankiewicz
4401 N 29th Terrace
Saint Joseph MO 64506


The CBE Group
Acct No xxxx xxxx 1624
131 Tower Park, Suite 100
PO Box 2547
Waterloo IA 50704-2547


US Bank NA
Acct No xxxxx2175
Attn Bankruptcy Department
PO Box 5229
Cincinnati OH 45201-5229


US Bank NA
Acct No xxxxx2175
4801 Frederica Street
Owensboro KY 42301
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 25 of 26


US Bank National Association
Acct No xx1546
Trustee for RASC 2006KS5
Code 507345110
3451 Hammond Ave
Waterloo IA 50702


VANDA LLC
c/o Weinstein & Riley PS
PO Box 3978
Seattle WA 98124


Wachovia Mortgage
Acct No xxxx1963
PO Box 659558
San Antonio TX 78265


Wachovia Mortgage
Acct No xxxx1963
PO Box 60505
City Of Industry CA 91716-0505


Wachovia Mortgage
Acct No xxxx1963
2525 Corporate Place, Suite 250
Monterey Park CA 91754


Wachovia Mortgage
Acct No xxxxxx2631
PO Box 60505
City Of Industry CA 91716-0505


Wachovia Mortgage
Acct No xxxxxx2631
2525 Corporate Place, Suite 250
Monterey Park CA 91754


Wachovia Mortgage
Acct No xxxxxx2631
PO Box 659558
San Antonio TX 78265-9558
Case 16-50329-btf13   Doc 11    Filed 08/23/16 Entered 08/23/16 04:09:46   Desc Main
                               Document     Page 26 of 26


Wells Fargo Bank, NA
Acct No xxxxxx2631
Attn Bankruptcy Department
MAC #T7416-023
4101 Wiseman Blvd
San Antonio TX 78251


Wells Fargo Home Mortgage
Acct No xxxxxx2631
Correspondence/Bankruptcy Department
PO Box 10335
Des Moines IA 50306-0335


Wells Fargo Home Mortgage Inc
Acct No xxxxxx2631
Attn Bankruptcy Department
1 Home Campus
Des Moines IA 50328


Windsor Capital Fund L.P.
Acct No xx1546
c/o Shapiro & Kreisman, LLC
13801 Riverport Drive
Suite 502
Maryland Heights MO 63043


Windsor Capital Fund LP
Acct No xx1546
c/o Hajjar Sutherland Peters & Washmon
1205 Rio Grande Street
Austin TX 78701-1709


Women's Health Laboratories
Acct No xxx0274
PO Box 1000 Dept 461
Memphis TN 38148-0001
